

People v Russ (2024 NY Slip Op 50802(U))



[*1]


People v Russ (Justin)


2024 NY Slip Op 50802(U)


Decided on June 14, 2024


Appellate Term, Second Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on June 14, 2024
SUPREME COURT, APPELLATE TERM, SECOND DEPARTMENT, 2d, 11th and 13th JUDICIAL DISTRICTS
PRESENT: : WAVNY TOUSSAINT, P.J., CHEREÉ A. BUGGS, LISA S. OTTLEY, JJ



2022-836 Q CR

The People of the State of New York, Respondent,
againstJustin Russ, Appellant. 




Appellate Advocates (Maisha Kamal of counsel), for appellant.
Queens County District Attorney (Johnnette Traill and Amanda Iannuzzi of counsel), for respondent.

Appeal from two judgments of the Criminal Court of the City of New York, Queens County (Diego A. Freire, J.), rendered September 9, 2022. Each judgment convicted defendant, upon his plea of guilty, of petit larceny, and imposed sentence. Assigned counsel has submitted a brief in accordance with Anders v California (386 US 738 [1967]), seeking leave to withdraw as counsel.




ORDERED that the judgments of conviction are affirmed.
We are satisfied with the sufficiency of the brief filed by defendant's assigned counsel pursuant to Anders v California (386 US 738 [1967]), and, upon an independent review of the record, we conclude that there are no nonfrivolous issues which could be raised on appeal. Counsel's application for leave to withdraw as counsel is, therefore, granted (see id.; People v Murray, 169 AD3d 227 [2019]; Matter of Giovanni S. [Jasmin A.], 89 AD3d 252 [2011]; People v Paige, 54 AD2d 631 [1976]; cf. People v Gonzalez, 47 NY2d 606 [1979]).
TOUSSAINT, P.J., BUGGS and OTTLEY, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: June 14, 2024









